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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

IN RE:

JAMES L. STIMPSON
DENISE L. STIMPSON,                                             CASE NO.: 3:17-bk-03559-PMG

                         Debtors./

                             FIRST AMENDED CHAPTER 13 PLAN

A.        NOTICES.

Debtor1 must check one box on each line to state whether or not the Plan includes each of
the following items. If an item is checked as “Not Included,” if both boxes are checked, or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

    A limit on the amount of a secured claim based on a valuation which Included              Not Included
    may result in a partial payment or no payment at all to the secured
    creditor. See Sections C.5(d) and (e). A separate motion will be filed.                   x

    Avoidance of a judicial lien or nonpossessory, nonpurchase money Included                 Not Included
    security interest under 11 U.S.C. § 522(f). A separate motion will be
    filed. See Section C.5(e).                                                                x

    Nonstandard provisions, set out in Section E.                                Included     Not Included

                                                                                 x


B.        MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of 10% and
          shall begin 30 days from petition filing/conversion date. Debtor shall make payments to
          the Trustee for the period of    60     months. If the Trustee does not retain the full 10%,
          any portion not retained will be disbursed to allowed claims receiving payments under
          the Plan and may cause an increased distribution to the unsecured class of creditors.

          $575.56        from month      1           through    24         .
          $794.12       from month      25          through    60         .




1   All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two
    individuals.
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C.      PROPOSED DISTRIBUTIONS.

        1.      ADMINISTRATIVE ATTORNEY’S FEES.


        Base Fee $2,500.00     Total Paid Prepetition $1,000.00        Balance Due $1,500.00

        MMM Fee $1,800.00 Total Paid Prepetition $0.00                 Balance Due $1,800.00

        Estimated Monitoring Fee at $       N/A       per Month.

        Attorney’s Fees Payable Through Plan at $100.00 Monthly (subject to adjustment).

        2.      DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 Acct. No.                       Creditor                          Total Claim Amount

 N/A



        3.      PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).


 Last Four Digits of Acct.       Creditor                          Total Claim Amount
 No.


 7142                            Internal Revenue Service          $2,649.00



        4.      TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
receive a fee, the percentage of which is fixed periodically by the United States Trustee.

       5.      SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments. The Trustee shall disburse adequate protection payments to secured
creditors prior to confirmation, as soon as practicable, if the Plan provides for payment to the
secured creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has filed a
proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending.
If Debtor’s payments under the Plan are timely paid, payments to secured creditors under the
Plan shall be deemed contractually paid on time.




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     (a)     Claims Secured by Debtor’s Principal Residence Which Debtor Intends to
     Retain - Mortgage, HOA and Condo Association Payments, and Arrears, if any,
     Paid Through the Plan. If the Plan provides for curing prepetition arrearages on a
     mortgage on Debtor’s principal residence, Debtor will pay, in addition to all other sums
     due under the proposed Plan, all regular monthly postpetition mortgage payments to the
     Trustee as part of the Plan. These mortgage payments, which may be adjusted up or down
     as provided for under the loan documents, are due beginning the first due date after the
     case is filed and continuing each month thereafter. The Trustee shall pay the postpetition
     mortgage payments for Debtor’s principal residence on the following mortgage claims:

Last Four      Creditor        Collateral         Regular       Gap             Arrears
Digits of                      Address            Monthly       Payment
Acct. No.                                         Payment




     (b)   Claims Secured by Other Real Property Which Debtor Intends to Retain -
     Mortgage Payments, HOA and Condo Association Payments, and Arrears, if any, Paid
     Through the Plan. If the Plan provides to cure prepetition arrearages on a mortgage,
     Debtor will pay, in addition to all other sums due under the proposed Plan, all regular
     monthly postpetition mortgage payments to the Trustee as part of the Plan. These
     mortgage payments, which may be adjusted up or down as provided for under the loan
     documents, are due beginning the first due date after the case is filed and continuing each
     month thereafter. The Trustee shall pay the postpetition mortgage payments on the
     following mortgage claims:

Last Four      Creditor        Collateral         Regular       Gap             Arrears
Digits of                      Address            Monthly       Payment
Acct. No.                                         Payment




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       (c)     Claims Secured by Real Property - Debtor Intends to Seek Mortgage
       Modification. If Debtor obtains a modification of the mortgage, the modified payments
       shall be paid through the Plan. Pending the resolution of a mortgage modification request,
       Debtor shall make the following adequate protection payments to the Trustee: (1) for
       homestead property, the lesser of 31% of gross monthly income of Debtor and non-filing
       spouse, if any (after deducting homeowners association fees), or the normal monthly
       contractual mortgage payment; or (2) for non-homestead, income-producing property,
       75% of the gross rental income generated from the property.

Last Four Digits     Creditor               Collateral Address            Adequate
of Acct. No.                                                              Protection Payment
                                            7580 CR 627, Bushnell, FL
2829                 USDA Rural Dev.                                      $418.00
                                            Debtors are paying 31%




       (d)     Claims Secured by Real Property or Personal Property to Which Section 506
       Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this provision does
       not apply to a claim secured solely by Debtor’s principal residence. A separate motion
       to determine secured status or to value the collateral must be filed. The secured
       portion of the claim, estimated below, shall be paid. Unless otherwise stated in Section E,
       the payment through the Plan does not include payments for escrowed property taxes or
       insurance.

Last Four     Creditor      Collateral       Claim        Value        Payment       Interest
Digits of                   Description/     Amount                    Through       Rate
Acct. No.                   Address                                    Plan
              Quantum3
6581
              Group
              LLC     as Jewelry             $1,665.51    $500.00      $13.88        0%
              agent for
              Sadino
              Funding
              LLC



       (e)    Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C.
       § 506. Debtor must file a separate motion under § 522 to avoid a judicial lien or a
       nonpossessory, nonpurchase money security interest because it impairs an exemption or
       under § 506 to determine secured status and to strip a lien.

Last Four Digits of Acct.        Creditor                         Collateral Description /
No.                                                               Address

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N/A




      (f)     Claims Secured by Real Property and/or Personal Property to Which Section
      506 Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C.
      § 1325(a). The claims listed below were either: (1) incurred within 910 days before the
      petition date and secured by a purchase money security interest in a motor vehicle
      acquired for the personal use of Debtor; or (2) incurred within one year of the petition
      date and secured by a purchase money security interest in any other thing of value. These
      claims will be paid in full under the Plan with interest at the rate stated below.

Last Four         Creditor        Collateral         Claim         Payment          Interest
Digits of                         Description/       Amount        Through          Rate
Acct. No.                         Address                          Plan
N/A



      (g)     Claims Secured by Real or Personal Property to be Paid with Interest
      Through the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be
      paid in full under the Plan with interest at the rate stated below.

Last Four          Creditor      Collateral          Claim         Payment          Interest
Digits of                        Description/        Amount        Through          Rate
Acct. No.                        Address                           Plan
N/A



      (h)   Claims Secured by Personal Property – Maintaining Regular Payments and
      Curing Arrearage, if any, with All Payments in Plan.

Last Four             Creditor         Collateral             Regular            Arrearage
Digits of Acct.                        Description            Contractual
No.                                                           Payment

N/A




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      (i)     Secured Claims Paid Directly by Debtor. The following secured claims are
      being made via automatic debit/draft from Debtor’s depository account and are to
      continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
      automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem
      and in personam as to any codebtor as to these creditors and lessors upon the filing of this
      Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract
      rights.

Last Four Digits of Acct.        Creditor                         Property/Collateral
No.
N/A



      (j)     Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
      following collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a)
      is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to
      these creditors upon the filing of this Plan.

Last Four Digits of Acct.        Creditor                         Collateral/Property
No.                                                               Description/Address
N/A



      (k)     Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend
      to make payments to the following secured creditors. The automatic stay is terminated in
      rem as to Debtor and in rem and in personam as to any codebtor with respect to these
      creditors upon the filing of this Plan. Debtor’s state law contract rights and defenses are
      neither terminated nor abrogated.

Last Four Digits of Acct.        Creditor                         Collateral
No.                                                               Description/Address

N/A



       6.      LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the
Trustee shall disburse payments to creditors under leases or executory contracts prior to
confirmation, as soon as practicable, if the Plan provides for payment to creditor/lessor, the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor/lessor under § 501(c), and no objection to the claim is pending. If Debtor’s


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payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time.

      (a)      Assumption of Leases/Executory Contracts for Real or Personal Property to
      be Paid and Arrearages Cured Through the Plan. Debtor assumes the following
      leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
      follows.

Last Four         Creditor/Lessor      Description of      Regular             Arrearage and
Digits of Acct.                        Leased              Contractual         Proposed Cure
No.                                    Property            Payment

N/A



      (b)     Assumption of Leases/Executory Contracts for Real or Personal Property to
      be Paid Directly by Debtor. Debtor assumes the following lease/executory contract
      claims that are paid via automatic debit/draft from Debtor’s depository account and are to
      continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
      automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem
      and in personam as to any codebtor as to these creditors and lessors upon the filing of this
      Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract
      rights.

Last Four Digits of Acct.       Creditor/Lessor                   Property/Collateral
No.
N/A



      (c)     Rejection of Leases/Executory Contracts and Surrender of Real or Personal
      Leased Property. Debtor rejects the following leases/executory contracts and will
      surrender the following leased real or personal property. The automatic stay is terminated
      in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
      and lessors upon the filing of this Plan.

Last Four Digits of Acct.       Creditor/Lessor                   Property/Collateral to be
No.                                                               Surrendered

N/A




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       7.     GENERAL UNSECURED CREDITORS. General unsecured creditors with
allowed claims shall receive a pro rata share of the balance of any funds remaining after
payments to the above referenced creditors or shall otherwise be paid under a subsequent Order
Confirming Plan. The estimated dividend to unsecured creditors shall be no less than $6,300.00.

D.     GENERAL PLAN PROVISIONS:

       1.      Secured creditors, whether or not dealt with under the Plan, shall retain the liens
               securing such claims.

       2.      Payments made to any creditor shall be based upon the amount set forth in the
               creditor’s proof of claim or other amount as allowed by an Order of the
               Bankruptcy Court.

       3.      If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
               property of the estate shall not vest in Debtor until the earlier of Debtor’s
               discharge or dismissal of this case, unless the Court orders otherwise. Property of
               the estate

               (a) _______ shall not vest in Debtor until the earlier of Debtor’s discharge or
               dismissal of this case, unless the Court orders otherwise, or

               (b)      x    shall vest in Debtor upon confirmation of the Plan.

       4.      The amounts listed for claims in this Plan are based upon Debtor’s best estimate
               and belief and/or the proofs of claim as filed and allowed. Unless otherwise
               ordered by the Court, the Trustee shall only pay creditors with filed and allowed
               proofs of claim. An allowed proof of claim will control, unless the Court orders
               otherwise.

       5.      Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
               distributions. The actual distributions may vary. If the summary or spreadsheet
               conflicts with this Plan, the provisions of the Plan control prior to confirmation,
               after which time the Order Confirming Plan shall control.

       6.      Debtor shall timely file all tax returns and make all tax payments and deposits
               when due. (However, if Debtor is not required to file tax returns, Debtor shall
               provide the Trustee with a statement to that effect.) For each tax return that
               becomes due after the case is filed, Debtor shall provide a complete copy of the
               tax return, including business returns if Debtor owns a business, together with all
               related W-2s and Form 1099s, to the Trustee within 14 days of filing the return.
               Unless otherwise ordered, consented to by the Trustee, or ordered by the Court,
               Debtor shall turn over to the Trustee all tax refunds in addition to regular Plan
               payments. Debtor shall not instruct the Internal Revenue Service or other taxing




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               agency to apply a refund to the following year’s tax liability. Debtor shall not
               spend any tax refund without first having obtained the Trustee’s consent or
               Court approval.

E.     NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy
       Procedure 3015(c). Note: Any nonstandard provisions of this Plan other than those set
       out in this section are deemed void and are stricken.




                                      CERTIFICATION

        By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.


SIGNATURE(S):

Debtor(s)


/s/ JAMES L. STIMPSON                                            Date 01/22/18
JAMES L. STIMPSON

/s/ DENISE L. STIMPSON                                           Date 01/22/18
DENISE L. STIMPSON

Attorney for Debtor(s)


/s/ ADAM G. RUSSO                                                Date 01/22/18
ADAM G. RUSSO, Esquire




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                                     CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of this Chapter 13 Plan of Debtors was
furnished by United States mail, postage prepaid, to All Creditors and Parties in Interest as listed
on the Court’s Matrix as attached, on this 31st day of October, 2017.


                                                     /s/ ADAM G. RUSSO
                                                     Adam G. Russo, Esq.
                                                     Attorney for Debtor
                                                     Myers & Eichelberger, P.L.
                                                     Florida Bar No. 84633
                                                     5728 Major Blvd., Suite 735
                                                     Orlando, FL 32819
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